
83 So.3d 983 (2012)
Kevin OSGOOD, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D11-6643.
District Court of Appeal of Florida, First District.
March 28, 2012.
Kevin Osgood, pro se, Petitioner.
Pamela Jo Bondi, Attorney General, and Heather Flanagan Ross, Assistant Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The petition for belated appeal is granted. Petitioner shall be allowed a belated appeal from the April 8, 2011, Order on Defendant's Motion for Post-Conviction Relief Pursuant to Rule 3.850, in Duval County Circuit Court case number 2005-CF-04624-A. Upon issuance of mandate in this cause, a copy of this opinion shall be provided to the clerk of the circuit court for treatment as the notice of appeal. Fla. R.App. P. 9.141(c)(5)(D).
ROBERTS, CLARK, and SWANSON, JJ., concur.
